Minute Order Form (06/97)
United States District Court, Northern District of Illinois
Name of Assigned Judge Morton Denlow Sitting Judge if Other
or Magistrate Judge than Assigned Judge
CASE NUMBER 00 CR 943 - 1 DATE 1/8/2001
CASE USA vs. Timothy Pool
TITLE
[In the following box (a) indicate the party filing the motion, e.g., plaintiff, defendant, 3rd party plaintiff, and (b) state briefly the

MOTION: nature of the motion being presented.]

DOCKET ENTRY:

(1) Oo Filed motion of [ use listing in “Motion” box above.]

(2) O Brief in support of motion due

(3) O Answer brief to motion due___—_—_.. Reply to answer brief due

(4) QO Ruling/Hearing on set for at

(5) Status hearing[held/continued to] [set for/re-set for] on set for at

(6) QO Pretrial conference[held/continued to] [set for/re-set for] on set for at

(7) 0 Trial[set for/re-set for] on at

(8) OQ [Bench/Jury trial] [Hearing] held/continued to at

9) O This case is disrnissed [with/without] prejudice and without costs[by/agreement/pursuant to]

OOFRCP4(m) (General Rule 21 OM FRCP4I1(a)(1} O FRCP41{a){2).
ao) [Other docket entry) | Arraignment and plea held. Paul M. Brayman appointed as counsel for

(1) oo

defendant. Defendant enters a plea of guilty to all counts of the information. Defendant informed of
rights. Judgment of guilty entered. Plea agreement filed. Defendant waives preparation of presentence
investigation and report. Sentencing hearing held.

[For further detail see order (on reverse side offattached to) the original minute order],

No notices required, advised in open court. “Bh AS!
Wo notices required.

Notices mailed by judge’s staff.
Notified counsel by telephone.
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Mail AO 450 form. art

Copy to judge/magistrate judge. Ss a OUT a

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